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- JUME GAWONE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YOR.K

 

 

 

 

x
KEVIN A. JONES, on behalf of himself and
others similarly situated,
Plaintiffs,
- against -
CLASS AC’I`ION COMPLAINT
STERLING INFOSYSTEMS, INC.,
(Trial by Jury Demanded)
Defendant.
x

 

On behalf of himself and all others similarly situated, P|aintiff Kevin A. Jones
(“Plaintifi” or “Mr. Jones”), by and through his attorneys, the Legal Action Center and Francis &
Mailman, P.C., respectfully alleges as follows:

NA'I`URE OF 'I`HE ACTION

l. This is a consumer class action against Defendant Sterling lnfosystems, Inc.
(hereafter “Sterling or Defendant”), one of the largest consumer reporting agencies in the United
States, based upon Sterling’s Widespread and systemic non-compliance with both the federal F air
Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (“FCRA”) and the New York Fair Credit
Reporting Act, N.Y. Gen. Bus. Law § et seq. (“NY-FCRA’;).

2. Class Representative, Kevin Iones, lost an employment opportunity because a
background check prepared by Sterling unlawfully reported four criminal records that belonged
to a different Kevin Jones. Mr. Jones has no criminal record. This class action complaint
charges Sterling with systematically failing to use reasonable procedures to ensure that the public

record information that Sterling reports to employers or prospective employers is complete and

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up to date. Had such procedures, such as inspecting the actual public records, been used with
regard to Class Representative Kevin Jones, it would have been clear that the criminal record
history that Sterling reported belonged to a different Kevin Jones. The complaint also charges
Sterl ing with systematically failing to provide two legally required notices that can help
individuals like Mr. J ones ensure the accuracy of their reports and otherwise protect their rights.
In particular, Sterling fails to provide employees and applicants with a required
contemporaneous notice that it is giving adverse information about them to employers (and
potential employers). Sterling also fails to provide notice about the right to request a description
of the procedure Sterling uses to determine the accuracy and completeness of the information
rcported. Finally, the class action complaint charges that when individuals request information
in their consumer iiles, Sterling yet again fails to include legally required information -
information that may have assisted Mr. Jcnes determine the source of the inaccurate data.

3. Sterling’s unlawful business practices not only harmed Mr. J ones but also harmed
and continue to harm hundreds, if not thousands, of consumers in New York and throughout the
country, including individuals with criminal record histories Furthermore, Sterling’s unfawful
business practices are precisely the types of practices that the FCRA was enacted to prevent
The FCRA was enacted “to insure that consumer reporting agencies exercise their grave
responsibilities With fairness, impartiality, and a respect for the consumer’s right to privacy,” 15
U.S.C. § 1681(a)(4), by operating “in a manner which is fair and equitable to the consumer, with
regard to the confidentiality, accuracy, reicvancy” of the consumer information they disseminate
15 U.S.C. § 1681(b). Congress included in the statutory scheme a series of due-process-like
protections that impose strict procedural rules on “users of consumer reports.” The NY-FCRA

was modeled after the FCRA in many respects although it contains several distinct provisions

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and duties. Sterling has thwarted the legislative purpose of the FCRA and NY-FCRA by
engaging in unlawful practices that appear to place its business interests above the rights of
consumers

l PARTIES

4. Plaintiff is an adult individual residing in New York, New York.

5 . Defendant Sterling lnfosystems, lnc. is a business entity that regularly conducts

4 business in New York, and has a principal place of business located at l State Street Plaza, 24th
Floor, New York, New Ycrk 10004. According to its website, “Sterling Infosystems is the
World’s largest company focused entirely on background checks.”
http://www.sterlinginfcsystems.com/about-sterling.htm.

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6. This Ccurt has jurisdiction over this matter based upon 28 U.S.C. § 1331 and
15 U.S.C. § 1681p in that all claims brought arise under the federal Fair Credit Reporting Act, 15
U.S.C. § 1681 et seq.

7. Venue lies properly in this District, pursuant to 28 U.S.C. § 1391(b), because a
substantial part of the events or omissions giving rise to Plaintiff’s claim occurred in this District,
and because Defendant “resides” in this District as defined in 28 U.S.C. § l39l(c).

l STATEMENT OF FACTS
Bacl_rground: Sterling’s Operations and Activities

8. Sterl ing is one of the largest of the nation’s employment background screening
companiesl Such companies are “consumer reporting agencies” (CRAs} that provide “consumer
reports,” as those terms are defined by 15 U.S.C. §§ 1681a(l] and l681a(d)(l)(B), to prospective

employers and employers

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9. To carry out its business activities and objectives, Sterling enters into contracts
with various vendors and companies which sell Sterling a whole host of consumer information
that Sterling then in turn resells to employers who are seeking to hire or make other employment
decisions Such vendors include public records vendors as well as other CRAS, such as Trans
Union and LexisNexis.

lt). The typical information that Sterling gathers, and assembles for resale to an
employer in connection with a backgron check, includes credit report history, national
criminal database data, state and local criminal records, driver’s history, and residential!address
history associated with social security number and date of birth. Sterling assembles such data
and delivers it to an employer electronically, usually through a login portal or interface. In
addition to the raw data, Sterling often additionally provides a “rating” of such information based
upon criteria previously supplied by the employer, and sends the consumer adverse action
notification on behalf of an employer customer when the data fails to meet the employer‘s
criteria.

ll. A criminal record can be the most significant component of a background check
and can often negativer impacts consumer’s application for employment or a consumer’s
employment As a result, both the FCRA and the NY-FCRA contain specific provisions that
impose duties of special care that CRAs must take when reporting public records in connection
with employment 15 U.S.C. § 1681k(a); N.Y. Gen. Bus. Law§ 380-g

12. Both the FCRA and NY-FCRA require that, in connection with the reporting of a
public record, unless the public records reported by the CRA are complete and up to date, it must
provide the consumer with a specific notification “at the time” it provides the record to an

employer. 15 U.S.C. § 1681k(a); N.Y. Gen. Bus. Law § 380-g This duty is in addition to the

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usual duty to follow reasonable procedures to assure “maximuln possible accuracy” imposed by
both laws. 15 U.S.C. § l681e(b); N.Y. Gen. Bus. Law § 380-j(e).

13. Sterling represents to its employer customers, to consumers who request copies of
their background checks and to the general public that the criminal records it sells are complete,
up to date and accurate Sterling represents in its background check reports that the criminal
in formation it reports matches “exactly” the information reported by local courts, and that it only
reports criminal information when there is an “exact match between the full name and date of
birth provided by the subject and the court record.” Sterling also represents to the public that its
reports provide “unbeatable speed and accuracy.” http:!/www.sterlinginfosystems.com.

14. These representations are grossly and recklessly false. Sterling’s representatives
have acknowledged under oath in other litigation that Steriing does not actually get the full and
complete actual public record prior to selling a background check. In addition, as demonstrated
more fully below, Sterling’s reports are often riddled with damaging errors that misattribute the
criminal history of other individuals on ajob applicant’s or employee’s background report.
Sterling’s reports contain such errors because Sterling obtains incomplete, inaccurate and
truncated criminal record data, uses poor matching criteria and logic, and has inadequate report
preparation procedures which fall far below the “maximum possible accuracy” standards
required by the FCRA and NY-FCRA.

15. As a result of Sterling’s failure to obtain and report public records that are
complete and up to date, it is required to provide consumers with FCRA specified notification at
the time it provides a consumer report to an employer, which it fails to do pursuant to corporate

policy.

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16. Sterling’s non-compliance with the FCRA extends beyond the point of sale of a
background check. When consumers request their files from Sterling, Sterling fails to provide
them with all of the information required by the FCRA and NY-FCRA.

The Fact_s Pertaining to Class Representative Plaintiff Kevin A. Jones

17. Plaintiff Kevin A. Jones applied for employment with Halstead Management
Company, LLC (“Halstead”) as a doorman/porter on or about July 12, 2012. On that morning,
Mr. Jones was interviewed by a senior management executive at Halstead who, following the
interview, offered Mr. Jones the job, which Mr. Jones accepted

lS. Later in the day, and pursuant to Halstead’s policy, Mr. Jones filled out a written
application ln filling out the application, Mr. Jones truthfully answered the question whether he
had ever been convicted of a crime in the negative He also completed a drug test.

19. Pursuant to its contractual relationship with Sterling, l~lalstead or a related
company, Brown Harris Stevens LLC Group (“BHS G”), then ordered an employee background
check on Mr. .loncs from Sterling.

20. In response to i-Ialstead’s or BHSG’s request, on or around .Iuly 13, 2012, Sterling
sold them an employment consumer report pertaining to Mr. Jones that contained approximately
25 pages of information, including information about Mr. Jones’s credit history, his residential
and address history, and four grossly inaccurate and stigmatizing criminal records. The Sterling
employment report violated the FCRA and NY-FCRA in numerous respects as set forth below.

21. The four inaccurate criminal records contained in the Sterling employment report
belonged to another individual, as Mr. Jones had no conviction records of any kind. As explained
in more detail below, the sole reason the four inaccurate criminal records were reported as

belonging to Mr. .I ones was that Sterling failed to use reasonable procedures to assure the

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maximum possible accuracy in preparing the Sterling employment report, and failed to obtain the
complete and up to date public records at issue prior to issuing the report. Had Sterling followed
such duties, it would have discovered that such records did not belong to Mr. Jones and it Would
not have reported them to his prospective employer.

22. The first inaccurate criminal record reported a conviction for “OPERATING
MOTOR VEHICLE UNDER INFLUENCE DRUG OR ALCOI-IOL (M)” and reported 3 other
charges The Sterling employment report falsely stated that the “Name On Court File” was
“Kcvin Jones,” when in fact the actual court record states clearly that the defendant in the case
was “Kevin M. Jones.” In addition, the Sterling employment report also omitted the source and
name of the court that issued the record, which was the Orchard Park Town Justice Court.

23. The second inaccurate criminal record reported a criminal conviction for
“ATTEMPTED PETIT LARCENY (M)” and criminal charch for “ATTEMPTED PETIT
LARCENY N)” and “PETIT LARCENY (M).” The Sterling employment report falsely stated
that the “Name on Court File” was “Kevin Jones,” when in fact the actual court record states
clearly that the defendant in the case was “Kevin M. Joncs.” In addition, the Sterling
employment report again also omitted the source and name of the court that issued the record,
which was the Wesr seneca Town court, Criminal Part.

24. The third inaccurate criminal record reported three felony charges of “lST
DEGREE-AGGRAVATED UNL[CENSED OPERATION MOTOR VEI-IICLE (F)”;
“OPERATING MOTOR VEHICLE UNDER [NFLUENC`E DRUG OR ALCOHOL (F)”;
“OPERATING MOTOR VEHICLE UNDER INFLUENCE DRUG OR ALCOl-[OL (F);” and
violations of probation for the first two charges. The Sterling employment report again falsely

stated that the “Name on Court File” Was “Kevin Jones,” when in fact the actual court record

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states clearly that the defendant in the case was “Kevin M. Jones.” In addition, the actual court
record included the defendant’s street address in West Seneca, NY, as well as the defendant’s
race, which Was Wl-IITE.

25. The fourth inaccurate criminal record reported a criminal conviction for “3RD
DEGREE-ATTEMPTED FORGERY (M)” as well es criminal charges cr“zND DEGREE-
FoRGERY (F ” end “sT“ DEGREE-<JRIMINAL PossassION OF sTOLEN PRoPERTY
(M).” The Sterling employment report again falsely stated that the “Name on Court Fi]e” was
“Kevin Jones," when in fact the actual court record states clearly that the defendant in the case
was “Kevin M. Jones.” In addition, the actual court record included the defendant’s street
address in Lancaster Town, NY as well as the defendant’s middle name of “MORGAN.”
Finally, the Sterling employment report omitted the source and name of the court that issued the
record, which was the “LANCASTER VILLAGE COURT, CRIM[NAL PART.”

26. Any routine reference to, casual consideration of or rudimentary inspection of the
actual public records referenced in the Sterling employment report by a reasonable person or
company would have revealed that the records did not belong to Mr. Jones. Any simple
computer programmed or automated cross-referencing procedure of the actual court data With the
personal identifying information of Mr. Jones would have also raised significant caution that the
information Sterling reported to Halstead and/or BHSG was inaccurate For each record, the
actual public record pertained to a “Kevin M. Jones,” when Mr. Jones has always held the
middle name ofAlexander and used the middle initial “A.” Two of the court records referenced
the actual defendant’s addresses, neither of Which Mr. Jones had ever resided at. Finally, one of

the actual public records demonstrated that the actual defendant’s middle name was Morgan, not

Alexander.

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27. Defendant Was or should have been aware of these patent discrepancies through
the name and address information it had obtained about Mr. Jones from the Trans Union credit
reporting agency and the residential address history it had obtained from LexisNexis’ Accurint
database. That information plainly and consistently demonstrated that Mr. Jones had never gone
by the middle initial of “M” or the middle name of Morgan, and had never resided at the West
Seneca, New York and Lancaster Town, New York addresses listed in the court records
Notwithstanding its possession of such contradictory and useful information, Defendant simply
disregarded it and reported the inaccurate criminal history to Halstead and/or BHSG pursuant to
its usual policies and practices.

28. ln addition to recklessly reporting the inaccurate criminal history about Mr. Jones
to Halstead and/or BHSG, Sterling knowingly and intentionally communicated the following
false statements:

THE CRIMINAL lNFORMATION REPORTED IN TH]S
REPORT APPEARS EMCTLY AS IT IS RECEIVED FROM
THE LOCAL JURISD{CTIONS AND MAY CONTAIN
INFORMATION THAT MAY BE PROH]BI'I‘ED FOR USE
IN MAKING HIRING DECISIONS; and

Results pertaining to the sub ject’s potential criminal
background results are only included in the report if there is an
exact match between the full name and date of birth provided by
the subject and the court record.

(Emphasis added).

29. Such identical language appeared in the thousands of Sterling reports sold
throughout the country during the class period and is uniformly false when Sterling does not
retrieve and communicate the complete and actual full public record.

30. On or about July 16, 2012, a representative from I-lalstead named Meredith

telephoned Mr. Jones and left a message W'hen Mr. Jones returned the call, Meredith informed

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him that the background check was not clean and contained criminal history information When
Mr. Jones informed Meredith that the negative information was inaccurate, she distracted him to
dispute the information with Sterling.

31. On the same day, and without yet having a copy of the actual report, Mr. Jones
called Steri ing to dispute what Meredith had told him and spoke With a “Reena.” She informed
him that criminal history information from New York State appeared on his background check.
Mr. Jones said the information was incorrect, and told her about a situation when he had been the
victim of mistaken identity in Florida years before where he had to submit a “not me” affidavit
which resolved the issue. Reena instructed Mr. Jones to fax the affidavit to her attention at
Sterling

32. On July 17, 2012, Mr. Jones faxed the “not me” affidavit to Sterling.

33. On the same date, Sterling sent Mr. J ones a letter deceptiver represented to be a
“Pre-Adverse Action Notice” sent by Haistead, containing Sterling’s address and other contact
information, which informed him that “we have decided to revoke your conditional offer of
employment” based on a “Criminal Report” provided by Sterling, and which enclosed a copy of
a Juiy l7, 2012 Sterling Testing Systerns Report (the “.luly 17, 2012 Sterling Report”). The July
17, 2012 Sterling Report contained the information within the Sterling employment report,
including the four inaccurate criminal records.

34. As a result, Sterling, Halstead and BHSG were all users of a consumer report Who
took adverse action against Mr. Jones prior to providing him with a copy of the background
report and a reasonable opportunity of time to contest the accuracy of the report, and Mr. Jones

lost his job with Halstead.

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35. On or around July 24, 2012, Mr. Jones had a telephone conversation with
someone at Sterling who informed him that Sterling would be closing out his dispute without
removing any of the inaccurate criminal record information Mr. Jones indicated to Sterling that
he was not satisfied with the outcome

36. \ On July 30, 2012, Sterling sent Mr. Jones a letter responding to his dispute and
informing him of the results of its reinvestigation (the “July 30 Letter”), along with another copy
of his Sterling employment report., but this time dated, July 24, 2012. A copy cf the July 30
Letter is attached hereto as Exhibit A. Among other things, the J nly 30 Letter represented that it
contained Sterling’s “Results of our Re-investigation” and informed him that Sterling was
“unable to update [its] report as no contrary information was found that would enable or require
[it] to do so.” Ex. A.

37. However, in addition to failing to properly investigate Mr. Jones’ dispute that the
inaccurate criminal records did not belong to him, Sterling violated FCRA section
1681i(a)(6}(B)(iii) by failing to notify Mr. Jones that upon his request, Sterling would provide
him a description of the procedure used to determine the accuracy and completeness of the
information it had reported about him.

38. On or around August 13, 2012, Mr. Jones called Sterling again to dispute the
criminal record information on the Sterling background check. l-Ie was told by someone at
Sterling that Sterling would look into it, but Mr. Jones never heard back from Sterling in
response to his August 2012 call.

39. Though he had lost the job, on or around January 15, 2013, Mr. Jones disputed the
inaccurate criminal records with Sterling yet again, as Well as disputing a Fleet credit card

account. In connection with his dispute, he included a Record of Arrests and Prosecutions

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(“RAF Sheet”) from the New York State’s Division of Criminal .lustice Services (DCJS) proving
that that he did not have any criminal or non-criminal case history. Mr. Jones called Sterling to
follow up on his dispute on or around January 21, 2013.

40. Sterling sent Mr. l ones a letter, dated January 28, 2013, outlining that, in
connection with his dispute, Sterling had “removed” the “criminal cases from New York” from
his report as well as the Fleet credit card account, and enclosed a revised copy of the Sterling
employment report.

41. In May of2013, Mr. Jones ordered a copy of his file from Sterling. On or around
May 13, 2013, Sterling sent Mr. l ones 'an enclosure letter communicating that it was enclosing
the “results to the pre-employment background screening” (the “May 13 File Disclosure”).

42. However, in violation of section 1681 g of the FCRA and section 380-d of the
NY-FCRA, the May 13 File Disclosure omitted important source data, While the file included a
section entitled “SSTRACE,” it did not disclose the source cf the data, which was LexisNexis’
Accurint database.

43. In connection with its usual report and file generation procedures, Sterling’s
reports include a section for information which it terms “Social Security Trace” data, This
information contains residential and address history by date, and full names and dates of birth for
the consumer applicant associated with his or her social security number (the “Residential
History lnformation”). However, in contravention of the FCRA and NY-FCRA, Sterling never
discloses the source of such information to consumers who request their files.

44. - In addition to being required by law, disclosure of the source of the Residential
History Information can be especially important and useful where Sterling has mixed the

consumer applicant with another individual and/or misattributed another person’s criminal

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records to the applicant Such information can help the consumer identify whether the inaccurate
personal identifying information is coming from a court, Sterling or Lexis Nexis, and dispute it
with the correct source.

45. The Residential History lnformation contained in the May 13 File Disclosure
notes that the “YEAR OF BIRTH (. . . 1956) DOES NOT MATCH THE INFORMATION
PROVIDED TO STERLING (. . . _1955).” As a result of Sterling’s failure to comply with the
FCRA, Mr. Jones was unable to find out who was reporting an incorrect year of birth and dispute
it with the source of that information.

46. As a result of Sterling‘s repeated and widespread violations of the FCRA and NY-
FCRA, Mr. Jones lost a job opportunity and remained without full-time employment for a
significant period oftime, and suffered a range of actual damages including lost Wages, damage
to his reputation, embarrassment, humiliation and emotional and mental distress

LA_SS ACTION ALLEGATIONS

47. Plaintiff brings this action pursuant to the Federal Rules of Civil Procedure 23(a)

and 23(b)(3) on behalf of the following classes as follows:

a. For Sterliug’s Violations of NY-FCRA Section 380-g and FCRA
Section 1681k(a)

All employees or applicants for employment residing in the State of New York
(a) Who were the subject of a report sold by Defendant to a third party, (b) that
was furnished for an employment purpose, (c) that contained at least one public
record of a criminal conviction or arrest, civil lien, bankruptcy or civil judgment,
(d) within two years from the date of the filing of this action through and during
the pendency of this action, and (e) to whom at the same time it furnished an
electronic report, Defendant did not provide electronic notice to the consumer
stating that a report was being furnished and containing the name of the person
that was to receive the report, or to whom within one hour of when it furnished a
non-electronic report Defendant did not mail notice to the consumer stating that a
report Was being furnished and containing the name of the person that was to
receive the report.

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b. For Sterling’s Violation of FCRA Section 1681i(a)(6)(B)(iii)

All persons residing in the United States of America (including all territories and

other political subdivisions of the United States) to whom, within two years from

the date of the filing of this action through and during the pendency of this action,

in response to a dispute regarding an inaccuracy in an employment background

report, Sterl ing sent a letter substantially in the form of the July 30 Letter,

attached hereto as Exhibit A.

c. For Sterling’s Violation of FCRA Section 1681g

All persons residing in the United States of America (including all territories and

other political subdivisions of the United States) to whom, within two years from

the date of the filing of this action through and during the pendency of this action,

in response to a request for their iile, Sterling sent a file disclosure that included

Sociai Security Trace lnformation.

d. For Sterling’s Violation of NY-FCRA Section 380-d

All persons residing in the State of New Yorl< to whom, within two years from the

date of the filing of this action through and during the pendency of this action, in

response to a request for their file, Sterling sent a report which included Social

Security Trace Information.

43. Numerosity. Fed. R. Civ. P. 23(a)(1). The Class members are so numerous that
joinder of all is impractical. Sterling sells thousands of consumer reports on employees and
applicants for employment each year, and those persons’ names and addresses are identifiable
through documents maintained by Sterling.

49. Existence and Predominance of Common Quostions of Law and Fact. Fed.
R. Civ. P. 23(a)(2). Common questions of law and fact exist as to all members of the Ciass, and
predominate over the questions affecting only individual members The common legal and
factual questions inolude, among others:

a) Whether Sterling was required to send notification to consumers at the

time that it reported public record information to employers of the Class that it was reporting

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public record information, along with the name of the person to whom it was reporting the
information because it did not report records that were complete and up to date;

b) Whether the results of reinvestigation that Sterling sent to consumers who
disputed their consumer reports failed to comply with FCRA section 1681i(a)(6)(iii) by failing to
provide the disputing consumer with a notice that, if requested by the consumer, a description of
the procedure used to determine the accuracy and completeness of the information would be
provided to the consumer, along with the business name and address of any fumisher of
information contacted in connection with such information and the telephone number of such
furnisher, if reasonably available; and l

c) Whether Sterling failed to provide the sources of its data in violation of
the FCRA and NY-FCRA when it sent consumers file disclosures that contained Social Security
Trace Data that did not identify LexisNexis andfor Accurint.

50. Typicality. Fed. R. Civ. P. 23(a)(3). Plaintifi‘s claims are typical of the claims
of each Class member. Plaintiff has the same claims for damages that he seeks for absent class
members

51. Adequacy. Fed. R. Civ. P. 23(a)(4). Plaintiff is an adequate representative of
the Class because his interests are aligned with, and are not antagonistic to, the interests of the
members of the Class he seeks to represent, he has retained counsel competent and experienced
in such litigation, and he intends to prosecute this action vigorously. Plaintif`f and his counsel
will fairly and adequately protect the interests of members of the Class.

52. Predominance and Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and
fact common to the Class members predominate over questions affecting only individual

members, and a class action is superior to other available methods for fair and efficient

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adjudication of the controversy. The statutory and punitive damages sought by each member are
such that individual prosecution would prove burdensome and expensive given the complex and
extensive litigation necessitated by Sterling’s conduct lt would be virtually impossible for the
members of the Class individually to redress effectiver the wrongs done to them. Even if the
members of the Class themselves could afford such individual litigation, it would be an
unnecessary burden on the courts. Furthermore, individualized litigation presents a potential for
inconsistent or contradictoryjudgrnents and increases the delay and expense to all parties andre
the court system presented by the complex legal and factual issues raised by Sterling’s conduct
By contrast, the class action device will result in substantial benefits to the litigants and the Court
by allowing the Court to resolve numerous individual claims based upon a single set of proof in a
unified proceeding

CAUSES OF ACTION

COUNT I
NY GEN. BUS. LAW § 380-g

lNEW YORK CLASS CLAIM - INJUNCTION[

53. Plaintiff realleges and incorporates by reference all preceding allegations

54. Plaintiff is a “consumer,” as defined by the NY-FCRA, section 380-a(b).

55. Sterling’s background reports are “consumer reports” within the meaning of the
NY-FCRA, section 380~a(c).

56. Sterling is a “consumer reporting agency” within the meaning of the NY-FCRA,
section 380-a(e).

57. Section 380-g of the NY-FCRA provides that a consumer reporting agency which
compiles and reports items of information on consumers which are matters of public record shail:

(a) at the time such public record information is reported to the
user of such consumer report, notify the consumer of the fact that

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public record information is being reported by the consumer
reporting agency, together With the name and address of the person
to whom such information is being reported; or (b) maintain
reasonable procedures designed to insure that whenever public
record information is reported it is complete and up to date to the
extent practicable. It shall be deemed a reasonable procedure for a
consumer reporting agency to accurately report the status of public
record information as of the date recorded in its files provided such
information is updated on a regular basis.

58. On a regular, systemic and admitted basis, Sterling fails to obtain the complete
and up to date public records that it sells to employers As such, lt is required to provide
consumers with notice, per N.Y. Gen. Bus. Law § 380-g(a), at the time that it provides public
record information to employersl It fails to do either in violation ofNY-FCRA section 380-g

WHEREFORE, Plaintiff Jones and the Class pray for relief as follows:

A. An order certifying the proposed Class under Rule 23 and appointing Plaintiff and
the undersigned counsel of record to represent same; and

B. An order enjoining Sterling from selling background checks and consumer reports
to employers which contain public record information unless and until Sterling agrees to
purchase and/or otherwise obtainthe full and complete court record from each court or provide

notice to consumers at the time and in any otherwise compliant manner.

COUNT II
FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681k

§§EW YORK CLASS CLAIM - DAMAGESL

59. Plaintiff realleges and incorporates by reference all preceding allegations
60. At all times pertinent hereto, Sterling was a consumer reporting agency which
furnished consumer reports “for employment purposes and which for that purpose compiled and

reported items of information on consumers which are matters of public record and are likely to

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have an adverse effect upon [consumers’] ability to obtain employment” as set forth in FCRA
section 1681k.

61. As such, Sterling was required to comply with FCRA section 1681k(a)(1) or
1681k(a)(2]. On a regular, systemic and admitted basis, Sterling fails to obtain the complete and '
up to date public records that it sells to employers As such, it is required to provide consumers
With notice, per 15 U.S.C. § 1681k(a)(1), at the time that it provides public record information to
employers lt fails to do either in violation of FCRA section1681k(a).

62. The violations by Sterling were willful, rendering Defendant liable for statutory
and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

_ § 1681n. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorneys’
fees from Sterling in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n
and § 16810.

WHEREFORE, Plaintiff seeks judgment in his and the Class’s favor and damages against
Defendant Sterling, for the following requested relief:

A. An order certifying the proposed Class under Rule 23 and appointing Plaintiff and
the undersigned counsel of record to represent same;

B, Statutory damages in an amount between $100-$1000 per Class member;

C. Punitive damages;

D. Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §§ 1681n and 16810;
and

E. Such other and further relief as may be necessary, just and proper.

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COUNT III
FAIR CREDI'I` REPORTING ACT, 15 U.S.C. § 1681i(a)(6)(B)(iii)

|EATIONAL QLASS - DAMAGES[

63. Plaintiff realleges and incorporates by reference all preceding allegations

64. Section 1681i(a)(6)(B)(iii) of the FCRA requires that in response to a consumer
dispute of information in a consumer tile, the CRA must, Within 30 days, provide the consumer
with “a notice that, if requested by the consumer, a description of the procedure used to
determine the accuracy and completeness of the information Shall be provided to the consumer
by the agency, including the business name and address of any furnisher of information
contacted . . . .”

65. Sterl ing willfully violated FCRA section 1681i(a)(6)(B)(iii) when it failed to
provide such a notice to Mr. Jones When it sent him the July 30 Letter. Upon information and
belief, the July 30 Letter is a form letter that Sterling sent to consumers throughout the country.
Sterling’s failure to comply resulted from a systemic practice that recklessly violated the FCRA.
Similarly, Sterling recklessly violated the rights of all Class members who had made a dispute to

1 it and received the same letter.

WHEREFORE, Plaintiff Jones and the Class pray for relief as follows:

A. An order certifying the proposed Class under Rule 23 and appointing Plaintiff and
the undersigned counsel of record to represent same;

B. An award of statutory damages in the amount of $100-$1000 per Class member
and punitive damages for Plaintiff and the Class;

C. An award of attorneys’ fees and costs; and,

D. Such other relief as the Court deemsjust and proper.

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CoUNT rv
FAIR cnaan REPORTING ACT, rs U.s.c. § 1ss1g

¢NATIONAL CLASS - DAMAGESL

66. Plaintiffrealleges and incorporates by reference all preceding allegations

67. Section 1681 g of the FCRA requires that, upon request, every consumer reporting
agency must provide a consumer, all information in the consumer’s tile, including the sources of
the information

68. Sterling violated FCRA section 1681 g, when in response to Mr. Jones’ request, it
sent him a file disclosure on or around May 13, 2013 that included Residential History
lnformation but failed to include the source of such data.

69. Given that Sterling’s file disclosures routinely included Residential History
lnformation and that its procedures uniformly failed to disclose the source of such data, Sterling
willfully violated the rights of all class members who had made similar requests and received the
same form file disclosure which omitted such source data

WHEREFORE, Plaintiff Jones and the Class pray for relief as follows:

A. An order certifying the proposed Class under Rule 23 and appointing Plaintiff and
the undersigned counsel of record to represent same;

B. An award of statutory damages in the amount of $ 100-$ 1000 per Class member
and punitive damages for Plaintiff and the Class; .

C. An award of attorneys’ fees and costs; and,

D. Such other relief as the Court deems just and proper.

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COUNT V
N.Y. GEN. BUS. LAW §380-(1

§BEW YORK CLASS CLA]M - IN.]UNCTIO§[

70. Plaintiff realleges and incorporates by reference all preceding allegations

71. Section 380-d of the NY-FCRA requires that, upon request, every consumer
reporting agency must provide a consumer, all information in the consumer’s tile, including the
sources of the information

72. Sterling violated section 380-d of the NY-FCRA, when in response to Mr. Jones’
request, it sent him a file disclosure on or around May 13, 2013 that included Residential History
ln formation but failed to include the source of such data.

73. Given that Sterling’s file disclosures routinely included Residential History
lnformation and that its procedures uniformly failed to disclose the source of such data, Sterling

_ willfully violated the rights of all class members who had made similar requests and received the
same form file disclosure which omitted such source data,

74. Sterling continues to violate section 380-d of the NY-FCRA at the current time,
and will continue to violate it until this or another Court orders otherwise.

WHEREFORE, Plaintiff Jones and the Class pray for relief as follows:

A. An order certifying the proposed Class under Rule 23 and appointing Plaintiff and
the undersigned counsel of record to represent same;

B. An order declaring Sterling’s file disclosure practices to be in violation of the
NY-FCRA, and ordering Sterling to disclose the source of its Residentiai History lnformation
that it includes on consumer file disclosures to NY residents;

C. An award of attorneys’ fees and costs; and,

D. Such other relief as the Court deems just and proper.

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COUNT VI
FAIR CREDIT REPORTING AC'I`, 15 U.S.C. § 1681c(b)

QLAINTIFF v. STERLING!

75. Plaintiff realleges and incorporates by reference all preceding allegations

76. Sterling is a “consumer reporting agency,” as defined by FCRA, 15 U.S.C.
§ 1681a(t).

77. At all times pertinent hereto, the Plaintiff was a “consumer” as that term is
defined by 15 U.S.C. § 16819,(0).

, 78. At all times pertinent hereto, the above-mentioned background report was a
“consumer report” as that term is defined by 15 U.S.C. § 1681a(d).

79. Sterling violated 15 U.S.C. § 1681e(b) by failing to establish or to “fo[low
reasonable procedures to assure maximum possible accuracy” in the preparation of Plaintiff s
background report and the tiles it published and maintained

80. As a result of Sterling’s violations of 15 U.S.C. § 1681e{b), Plaintiff.lones
suffered actual damages including but not limited to: loss of employment income and benetits,
damage to reputation, embarrassment, humiliation and other mental, physical and emotional
distress.

81. The violations by Sterling were willful, rendering Defendant liable for punitive
damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. ln the
alternative, Sterling was negligent, which entitles Plaintiff to recovery under 15 U.S.C. § 16810.

82. Plaintiff is entitled to recover actual damages statutory damages, costs and
attomeys’ fees from Sterling in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n and § 16810.

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WHEREFORE, Plaintiff seeks judgment in Plaintiffs favor and damages against
Defendant Sterling, for the following requested relief:

A. Actual damages;

B Statutory damages;

C. Runitive damages;

D COStS and reasonable attorneys’ fees pursuant to 15 U.S.C. §§ 1681n and 16810;
and

E. Such other and fi.u'ther relief as may be necessary, just and proper.

COUNT VII
N.Y. GEN. BUS. LAW § 380-f

§RLAINTIFF V. STERLING!

83. Plaintiffrealleges and incorporates by reference all preceding allegations

84. Sterling is a “consumer reporting agency,” as defined by the NY-FCRA.

85. At all times pertinent hereto, the Plaintiff was a “consumer” as that term is
defined by NY-FCRA.

86. Section 380-f of the NY-FCRA requires CRAs to investigate consumer disputes
and delete information that is inaccurate or cannot be verified.

87. Sterling violated N.Y. Gen. Bus. Law § 380-f by failing to investigate Mr. Jones’
disputes of the inaccurate criminal history information in the summer of 2012 and verifying the
information as belonging to him.

88. As a result of Sterling’s violations of`N.Y. Gen. Bus. Law § 380-f, PlaintiffJones
suffered actual damages including but not limited to: loss of employment income and benefits,
damage to reputation, embarrassment, humiliation and other mental, physical and emotional

distress.

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89. The violations by Sterling were williirl, rendering Defendant liable for punitive
damages in an amount to be determined by the Court pursuant to N.Y. Gen. Bus. Law 380-1. In
the altemative, Sterling was negligent, Which entitles Plaintiff to recovery under N.Y. Gen. Bus.
Law § 380-rn

90_. Plaintiff is entitled to recover actual damages, statutory damages, costs and
attorneys’ fees from Sterling in an amount to be determined by the Court pursuant to N.Y. Gen.
Bus. Law § 380-l and § 380-m.

WI-[EREFORE, Plaintiff seeksjudgment in Plaintiff’s favor and damages against
Defendant Sterling, for the following requested rel ief:

A. Actual damages;

B. Statutory damages;

C. Punitive damages;

D. Costs and reasonable attorneys’ fees pursuant to N.Y. Gen. Bus. Law §§ 380-l
and 380-m; and

E. Such other and further relief as may be necessary, just and proper.

CoUNT vIII
N.Y. GEN. BUS. LAW § ssdj(a)(s)

|PLAINTIFF V. STERL[NG-INJUNCTION}

91. Plaintiff realleges and incorporates by reference all preceding allegations
92. NY-FCRA Section 380-j(a)(3) provides that “[n]o consumer reporting agency
shall report or maintain in the file on a consumer information . . , which it has reason to know is

inaccurate.”

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93. Sterling violated section 380-j(a)(3) of the NY-FCRA by representing that the
criminal records it reported about Mr. Jones were reported as they appeared exactly in the public
record, when in fact Sterling knew that it had not actually obtained the public records.

WHEREFORE, Plaintiff Jones prays for relief as follows:

A. An order enjoining Sterling from selling consumer reports or file disclosures
which contain the misrepresentations concerning Mr. Jones;

B. An award of punitive damages for Plaintiff`;

C. An award of pre-judgment and post-judgment interest as provided by law; and

D. An award of attorneys’ fees and costs,

JURY DEMAND

Plaintiff hereby demands a trial by jury.

Dated: New York, New York
May l, 2014 LEGAL ACTION CENTER

By; /%la Mé___

Monica Welby (MW-7373)

Monica Welby (MW-7373)

Sally Friedman (SF-3344)

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AND

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FRANCIS & MAILMAN

J ames A. Francis (pro hac vice forrheoming)

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mmailman@consurnerlawf`irm.com
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EXHIBIT A

 

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WB>STERL!NG

July 30. 2012

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Re: Contested Consumer Report

 

Dear Mr. Iones:

'l'his letter is in response to your phone call of july 24-, 2012, in which you contested the
contents oi"a consumer report prepared by Sterling Infosystems for our client Brown
Harris Stevens LLC Group.

Sterling Infosystems is a Consumer Reporting Agency [CRA), as defined under both federal
and state laws and you have the right to contest information in any report you have
authorized us to prepare on your background We must complete our ria-investigation
within 30 days ofthe dispute being opened lf your dispute is not substantiated you have a
right to add a statement to your file disputing the accuracy or completeness ofthe
information lf after reinvestigati`on, information is deleted from your file, you have a right
to request that we furnish notifications to those who have within two years prior thereto

received a consumer report for employment purposesl

These rights, and others you may have, are set forth in the Fair Credit Reporting Act,
(FCRA). We are includinga copy of "A Summary of Your flights linder the Fair Credit
Reporting Act [revised 01-05]” for your referencel

Sterling Infosystems has investigated your claim and ls making its report to you by this
letter.

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You claimed the criminal cases shown in Volusia County. Florlda, do not belong to you and
should not be shown on our reportl You requested we update our report to reflect this
informationl We explained that a reinvestlgation would be initiated at the county level and
any information you could provide would be heipful.

Sterllng |nfosyetems. lnc15750 West Oaks B|vd /Ror.klln. CA 95785
tel: 800 943 2589{1';:)¢: 800 943 4572 1www.sterling|niosystemg_num

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WS`I"ERL|NG

We received your documents on 7/24/2012. a judicial clearance certificate received from
the Voiusia County Cirr.'uitl Florlda. Tth document confirmed the cases do not belong to
you. i-iowever, we did not report any criminal charges for you in Volusia County, Flor|da.
The charges that remain on your report are from Erle County, New York.

At this time, we are unable to update our report as no contrary lnformation was found that
would enable or require us to do se. For additional information on this case, you may
contact the Erie County Superior Court, A copy ofour report is enclosed for your records.

Dispute opened: july 24, 2012
Dispute closed: july 25, 2012
Tlrne to close; One business day
Letter prepared: july 30, 2012
Letter sent: july 30, 2012

If you have any questions or concerns regarding this report please contact Dispute
Resolution at 800-943-2589 ext. 5207.

Etiuarnemfsmatlon

Sterling Infosystems does not resell and/or redistribute the information compiled in its
consumer reports to anyone. at anytime for any purpose other than the parties named in
the Agreement, Authorization, and Consent for Release of Baci<ground information signed
by the subject of the report before its preparation

Sincerely,

Sterling Infosystems
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l..lnda Froom

Dispute Resolution Specia]ist

Enclosures

Sterling lnfosyeieme. inc .' 575!1 West Oaks B|vd l Roci¢|ln, cA 95?55
te|: 800 943 2589 Ifax: 300 943 4572 fWWW-Sf€l‘||rlg|nfosystems.corn

